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                  UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                     CORPUS CHRISTI DIVISION

RICARDO ADAME                         §

vs.                                   §     Case No. _______________

REFUGIO COUNTY                        §

                                 COMPLAINT

      Plaintiff Ricardo Adame moves the Court for entry of judgment in his favor

against Refugio County, Texas, and in support of such Complaint avers as follows:

                NATURE OF ACTION AND JURISDICTION

      1. This is a civil action under 42 U.S.C. § 1983 seeking damages against

defendant (acting by and through Refugio County Sheriff Robert A. Bolcik) for

committing acts, under color of state law, with the intent and for the purpose of

depriving plaintiff of rights secured under the Constitution and laws of the United

States.

      2. This case arises under the United States Constitution and 42 U.S.C. § 1983,

42 U.S.C. § 1981, and 42 U.S.C. § 1988, as amended. This Court has jurisdiction in

this matter pursuant to 28 U.S.C. Sections 1331 and 1343.

      3. Plaintiff brings this action for damages incurred due to his unlawful

termination from the Refugio County Sheriff's Office.
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                                     PARTIES

      4. Plaintiff Ricardo Adame is a citizen of the State of Texas. He resides in

Woodsboro, Texas. The last four digits of his social security number are 3145.

      5. Defendant Refugio County is a corporate body and political subdivision of

the State of Texas, and a "person" within the meaning of 42 U.S.C. § 1983.

Defendant may be served with process by serving the County Judge, Honorable

Robert Blaschke, at 808 Commerce St., Room 104, Refugio, Texas 78377.

                                       FACTS

      6. Plaintiff was fired from his employment as a Sheriff's Deputy with the

Refugio County Sheriff's Office on February 4, 2015 by Refugio County Sheriff

Robert A. Bolcik.

      7. In firing plaintiff, Sheriff Bolcik was defendant's final policymaker

pursuant to Tex. Loc. Gov't Code sections 85.003(c) and 151.004. The Texas

legislature has vested sheriffs with sole discretion in hiring and firing deputies, and

the sheriff's exercise of that discretion is unreviewable by any other official or

governmental body. Sheriff Bolcik's termination of plaintiff's employment

constitutes official policy for which the county may be held responsible under

section 1983. Brady v. Fort Bend County, 145 F.3d 691 (5th Cir. 1998); Turner v.

Upton County, 915 F.2d 133 (5th Cir. 1990).
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      8. Plaintiff is Hispanic. His country of national origin is Mexico. He speaks

English and Spanish.

      9. Plaintiff is a licensed Peace Officer in this state as per the Texas

Commission on Law Enforcement. In 2007, the Commission awarded him the

certification of "Advanced Peace Officer".

       10. Plaintiff was hired as a Refugio County Sheriff's Deputy in 2007 at a

yearly salary of $29,767.00. He was promoted to Patrol Sergeant in 2008 with a

salary increase from $30,626.00 to $32,563.00. In 2013, plaintiff was earning

$42,696.00 with the position of Narcotics Sergeant (school resources). When he was

fired, he was earning $44,877.00.

      11. Plaintiff was fired by Sheriff Bolcik via memorandum dated February 4,

2015. In the memorandum, the Sheriff stated only that "Effective Wednesday,

February 4, 2015 your services with the Refugio County Sheriff's Office are no

longer needed". Sheriff Bolcik signed the memorandum.

      12. Sheriff Bolcik is prejudiced against Hispanics. Plaintiff's membership in

this protected class was a motivating factor in the Sheriff's decision to fire him. For

example: after Sheriff Bolcik saw Refugio Police Chief Andy Lopez, Jr., driving a

pickup with wheels he did not approve of, he remarked "typical Mexican"; referring

to former County Judge Rene Mascorro's candidacy for County Judge, the Sheriff

remarked "that's all we need - a fucking Mexican"; and in firing plaintiff he fired the
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only deputy who could speak Spanish. The Sheriff's desire to hire a non-hispanic

white person to replace plaintiff was also a motivating factor in the Sheriff's decision

to fire plaintiff.

       13. The Sheriff wanted to hire Amanda Enfinger to replace plaintiff which he

did, soon after plaintiff's firing. Shortly before he fired plaintiff, Enfinger let it be

known she wanted plaintiff's job. Ms. Enfinger's race is non-Hispanic white, as is

Sheriff Bolcik, Chief Deputy Sheldon Wiginton, Lt. Glen Grasham, Sgt. Jamie

O'Reilly, Sgt. Shelly Haertig, Sgt. Jeff Raymond, and deputies Stacey Allen, Larry

Patton, Ronnie Crisp, Matthew Tuttle, Todd Gordon, and Tammy Gregory. There

are currently 17 sheriff's deputies for Refugio County, and 12 are non-Hispanic

whites.

     CAUSE OF ACTION UNDER 42 U.S.C. § 1983 AND 42 U.S.C. § 1981

       14. The foregoing allegations are incorporated as if re-alleged herein. Plaintiff

is a member of a protected class and qualified to be a deputy sheriff. He was fired

and replaced by a non-hispanic white. This constitutes a prima facie case of

intentional discrimination. Bryan v. McKinsey & Company, Inc., 375 F.3d 358 (5th

Cir. 2004).

       15. As a direct and proximate result of the unlawful termination of his

employment as a Sheriff's Deputy with the Refugio County Sheriff's Office, plaintiff

sustained the following damages: lost salary; lost employee benefits; loss of earning
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capacity; loss of retirement benefits; future lost wages and benefits; mental anguish

manifested as sleeplessness, stress, depression, and loss of self-esteem; and litigation

expenses including attorney fees.

                              PRAYER FOR RELIEF

      WHEREFORE, plaintiff Ricardo Adame requests judgment against defendant

as follows: for appropriate compensatory damages in an amount to be determined at

trial; an award of attorney's fees and costs on his behalf expended pursuant to 42

U.S.C § 1988; and for such other and further relief to which plaintiff may show

himself justly entitled.

                                        Respectfully submitted,

                                        /s/ David E. Wood
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